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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 7

    AKORN HOLDING COMPANY LLC, et                           Case No. 23-10253 (KBO)
    al. 1
                                                            (Jointly Administered)
                               Debtors.
                                                            Re D.I. 106, 137

    PURCHASER’S DECLARATION IN SUPPORT OF TRUSTEE’S MOTION FOR
      ENTRY OF (I) AN ORDER (A) APPROVING BIDDING PROCEDURES IN
CONNECTION WITH SALE OF SUBSTANTIALLY ALL OF THE ESTATES’ ASSETS,
 (B) SCHEDULING AN AUCTION AND HEARING TO CONSIDER THE PROPOSED
  SALE, AND (C) APPROVING THE FORM AND MANNER OF NOTICE THEREOF;
     AND (II) AN ORDER (A) APPROVING THE SALE, (B) AUTHORIZING THE
      ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
     UNEXPIRED LEASES, AND (C) GRANTING CERTAIN RELATED RELIEF

             I, Amy Farris Wolfe, pursuant to 28 U.S.C. §1746, declare under penalty of perjury that

the following is true and correct:

             1.     I am the General Counsel of Aurobindo Pharma USA, Inc. (the “Purchaser”), the

proposed purchaser of certain assets from the Debtors’ Estates (the “Purchased Assets”), and I

submit this Declaration in support of the Trustee’s Motion for Entry of (I) an Order (A)

Approving Bidding Procedures in Connection With Sale of Substantially all of the Estates’

Assets, (B) Scheduling an Auction and Hearing to Consider the Proposed Sale and (C)

Approving the Form and Manner of Notice Thereof; and (II) an Order (A) Approving the Sale,

(B) Authorizing the Assumption and Assignment of Executory Contracts and Unexpired Leases,

and (C) Granting Certain Related Relief (the “Sale Motion”) [D.I. 106]. 2


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  The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23- 10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
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  Capitalized terms not otherwise defined herein shall have the meanings provided in the Sale Motion.


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         2.    Unless otherwise stated herein, I have personal knowledge of the facts set forth in

this Declaration.

         3.    The Purchaser was a Qualified Bidder and attended the Auction through its

representatives and/or professionals, and was selected as the Successful Bidder for the Purchased

Assets. The Purchaser did not engage in any collusion with respect to the bidding at the Auction

or the sale of any assets at the Auction.

         4.    The Purchaser and the Trustee (together, the “Parties”), through their respective

representatives and/or professionals, engaged in arm’s length negotiations with respect to the

Purchased Assets, culminating in their entry into a Purchase Agreement (the “Purchase

Agreement”), a true and correct copy of which has been, or will be, filed with the Court. The

Parties’ negotiations were in no way tainted by collusion, fraud, or bad faith.

         5.    The Parties have not, and will not, exchange any consideration other than as set

forth in the Purchase Agreement. The consideration as set forth in the Purchase Agreement

represents fair and reasonable value being paid for the Purchased Assets.

         6.     In the Sale Motion, the Trustee requests that the Court approve the Sale and, inter

alia, find that the Purchaser is a “good faith” purchaser entitled to the protections afforded to

good faith purchasers under 11 U.S.C. §363(m).




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         7.     To the best of my knowledge, information and belief, the Purchaser has no

connections with the Trustee, the Debtor, the Debtor’s employees, other professionals, the

United States Trustee, or any persons employed in the Office of the United States Trustee.

         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on this _____
                           6th day of June, 2023.



                                               Amy Farris Wolfe
                                               General Counsel




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